989 F.2d 495
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.James B. CANADY, Defendant-Appellant.
    No. 92-7268.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 1, 1993Decided:  March 24, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CR-88-1-N, CA-92-815)
      James B. Canady, Appellant Pro Se.
      Robert William Wiechering, Assistant United States Attorney, Norfolk, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      James B. Canady appeals from the district court's orders refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinions discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Canady, No. CR-88-1-N, CA-92-815 (E.D. Va.  Oct. 20, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    